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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

H-D U\S.A., LLC,
Plaintiff,
Vv.

IEVOLVE2016, et al.,

Defendants.

 

 

EASTERN DIVISION

Case No. 19-cv-02256
Judge Rebecca R. Pallmeyer
Magistrate Judge Sunil R. Harjani

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on May 15, 2019 [45], in favor of

H-D U.S.A., LLC (“Harley-Davidson” or “Plaintiff’) and against the Defendants Identified in

Schedule A in the amount of one million dollars ($1,000,000) per Defaulting Defendant, and

Harley-Davidson acknowledges payment of an agreed upon damages amount, costs, and interest

and desires to release this judgment and hereby fully and completely satisfy the same as to the

following Defendants:

 

 

 

 

 

 

Defendant Name Line No.
aumo-mate 12
autopart1970 17
crazybiker883 37

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 

 
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Dated this 31st day of May 2019.

Respectfully submitted,

A. Liga

Amy C, Ziegler f

Justin R. Gaudio

Rikaleigh C. Johnson

Greer, Burns & Crain, Ltd.

300 South Wacker Drive, Suite 2500
Chicago, Illinois 60606

312.360.0080 / 312.360.9315 (facsimile)
aziegler@gbc.law

jgaudio@gbc.law

rjohnson@gbc.law

Counsel for Plaintiff H-D U.S.A., LLC

Subscribed and sworn to me by RiKaleigh C. Johnson, on this 31st day of May 2019.

Given under by hand and notarial seal.

ALYSSA GUYNN
Official Seal

Notary Public - State of Hlinois
My Commission Expires Nov 16, 2022

 

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Notary Public Gi

State of Ilinois
County of Cook
